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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE



 CRYSTALLEX INTERNATIONAL
 CORPORATION,

                    Plaintiff,
                                           C.A. No. 17-151-LPS
       v.

 BOLIVARIAN REPUBLIC OF
 VENEZUELA,

                    Defendant.


               CRYSTALLEX INTERNATIONAL CORPORATION’S
            SUPPLEMENTAL BRIEF REGARDING SALES PROCEDURES


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                                        INTRODUCTION

        Pursuant to this Court’s November 12, 2021 order, D.I. 403, Plaintiff and Judgment Cred-

 itor Crystallex International Corp. (“Crystallex”) respectfully submits this supplemental brief ad-

 dressing arguments made by counsel for PDV Holding, Inc. and CITGO Petroleum Corp. (collec-

 tively, “PDVH”) at the November 8, 2021 oral argument, with respect to the Venezuela sanctions

 regulations issued by the Office of Foreign Assets Control (“OFAC”), 31 C.F.R. Part 591.

        Since December 2019, the Venezuela parties have relied on a nonbinding frequently asked

 question (“FAQ 809”) posted on OFAC’s website to argue that OFAC regulations bar this Court

 from holding a “contingent auction” or taking any “concrete steps” towards an execution sale of

 PDVH shares. D.I. 150 at 2. Crystallex has made clear, however, that under the Supreme Court’s

 decision in Kisor v. Wilkie, 139 S. Ct. 2400 (2019), FAQ 809 lacks the force of law and is not

 entitled to any deference by this Court. D.I. 343 at 12-13. At the November 8 hearing, therefore,

 PDVH’s counsel disavowed any reliance on deference to FAQ 809. See Nov. 2021 Tr. at 97:1-4

 (“we are not asking this Court to defer to FAQ 809”); D.I. 397-1 at 21 (“The Venezuela Parties

 are not arguing that this Court is bound by the text of FAQ 809.”). Instead, PDVH offered a host

 of new arguments for further delaying a sale, cobbled together from snippets of the OFAC regula-

 tions and OFAC’s September 10, 2021 letter denying—for now—Crystallex’s request for a spe-

 cific license authorizing the sale. Nov. 2021 Tr. at 47:17-60:15, 84:9-89:7. Although PDVH’s

 counsel initially accused Crystallex of having failed to respond, id. at 109:7-9, it quickly became

 apparent that PDVH had first raised these arguments in a reply brief, id. at 115:8-116:1; see D.I.

 355 at 9-12, depriving Crystallex of any opportunity to respond. In light of PDVH’s reimagined

 presentation, the Court requested this supplemental briefing. Nov. 2021 Tr. at 263:4-11.

        PDVH’s new arguments have never been advanced by the government itself, either in its

 appearance before this Court last year or in OFAC’s most recent letter. At bottom, they are the
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 same meritless arguments this Court already rejected in January 2021 when it outlined the contours

 of a sale process that contemplated bidding, if necessary, prior to the submission of a license ap-

 plication. The OFAC regulations have not changed since then, and the fact that new counsel has

 invented new interpretations of the same language is no reason for this court to reconsider its prior

 decision. Nor is there any merit to PDVH’s argument, based on cherry-picked phrases from

 OFAC’s definition of a prohibited “transfer,” 31 C.F.R. § 591.310, that OFAC regulations prohibit

 virtually any “agreement,” “payment,” or other act with any relation to blocked property. Instead,

 the regulation is clear that only acts with the “purpose, intent, or effect” of actually altering blocked

 property rights without a license are prohibited, id., and the subsequent granting of a license can

 validate even an otherwise unlawful transaction, id. § 591.202(c). Although Crystallex and the

 Special Master are both proposing procedures that could result in bidding before the granting of

 an OFAC license, neither proposal implicates OFAC sanctions because no rights would change

 hands unless and until a license is ultimately granted. OFAC regulations thus pose no obstacle.

         The OFAC letter temporarily denying Crystallex a license without prejudice likewise

 changes nothing in this Court’s analysis. It leaves Crystallex precisely where it stood before—

 with no license for now, but with the possibility OFAC will grant one soon. Despite expressly

 acknowledging the Court’s decision to proceed with prefatory steps toward a sale, OFAC lodged

 no policy or legal objections to any steps the Court is currently taking or considering to prepare

 for a sale once a license is granted. And the Court can address any hypothetical risk that proceed-

 ing without an OFAC license may depress PDVH’s share value by simply evaluating the adequacy

 of the winning bid once there is a bid to evaluate. In any event, any such risk—a risk of Vene-

 zuela’s own making, given its stout refusal to pay its lawful debt or cooperate in the OFAC licens-

 ing process—is amply outweighed by untoward incentives that would be created were this Court



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 to reward Venezuela’s obstruction with the delay it seeks. This Court should not allow further

 delay. Crystallex respectfully requests that the Court enter a Sale Procedures Order promptly.

                                          BACKGROUND

 I.     OFAC Regulations Prohibit Only Transfers Of Blocked Property Without A License

        The core prohibition of OFAC’s Venezuela sanctions regulations is found in § 201, which

 provides that “[a]ll transactions prohibited pursuant to” certain Executive Orders “are prohibited

 pursuant to this part.” 31 C.F.R. § 591.201. The relevant Executive Order states that “[a]ll prop-

 erty and interests in property” in the United States of certain entities—including Venezuela’s oil

 sector—are “blocked and may not be transferred, paid, exported, withdrawn, or otherwise dealt

 in.” E.O. 13850 § 1(a). This prohibition applies “except to the extent provided by statutes, or in

 regulations, orders, directives, or licenses” issued pursuant to the Order. Id. § 1(b). As a result,

 Venezuela’s property may be “transferred,” but only “to the extent provided by” a “licens[e].” Id.

        Section 310 in turn defines “transfer” as any “act or transaction” with the “purpose, intent,

 or effect” to “create, surrender, release, convey, transfer, or alter” any “right, remedy, power, priv-

 ilege, or interest” with respect to blocked property. 31 C.F.R. § 591.310. The provision then lists

 acts and transactions—including the “appointment of any agent,” “fulfillment of any condition,”

 “making, execution, or delivery of any . . . agreement,” and “making of any payment”—that can

 qualify as “transfer[s]” when they satisfy this definition. Id. The regulations thus prohibit only

 acts or transactions that purport to alter rights in Venezuela’s property without a license.

        Section 202—titled “Effect of transfers violating the provisions of this part”—sets forth

 the consequences of engaging in a prohibited transaction: A “transfer . . . in violation of” the

 regulations is “null and void.” 31 C.F.R. § 591.202(a). But “a license . . . issued by OFAC before,

 during, or after a transfer shall validate such transfer.” Id. § 591.202(c). A transfer of blocked

 property thus takes effect if and only if licensed by OFAC, regardless of when that occurs.

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 II.    This Court Has Recognized The Need To Proceed With The Sale Process And Has
        Rejected Venezuela’s Dilatory Arguments Based On The OFAC Regulations

        More than two years ago, the Third Circuit affirmed the attachment of Venezuela’s shares

 of PDVH, emphasizing that “Venezuela owes Crystallex from a judgment that has been affirmed

 in our courts,” and “[a]ny outcome where Crystallex is not paid means that Venezuela has avoided

 its obligations.” 932 F.3d 126, 149 (3d Cir. 2019). Three months later, that court lifted its stay of

 proceedings in this Court. D.I. 136. Ever since, the Venezuela parties have relied on OFAC sanc-

 tions as part of their concerted effort to delay progress towards a sale. E.g., D.I. 139 at 12-17; D.I.

 146 at 1-4; D.I. 150 at 1-3; D.I. 188 at 4-11; D.I. 196 at 3-8; D.I. 317 at 13-16; D.I. 340 at 9-15.

        Crystallex acknowledges that in light of the sanctions regime that was imposed after it

 obtained its writ of attachment, as a practical matter, it will likely need a specific license from

 OFAC before the PDVH shares can be transferred. But as long as no property rights actually

 change hands before OFAC grants a license, Crystallex maintains that “[n]othing in OFAC regu-

 lations prohibits this Court from conducting a sale process to identify and rank bidders.” D.I. 147

 at 3. Crystallex thus supports a sale process that “allow[s] for bids for the shares” to be “made

 subject to the bidder receiving necessary government approvals.” D.I. 182 at 15-16.

        OFAC, for its part—as this Court has recognized—has “not taken the position that the

 Court is ‘blocked from moving forward.’” D.I. 234 at 34 (quoting D.I. 226 (“Sept. 2020 Tr.”) at

 105). In September 2020, the government submitted a statement of interest—based on a letter

 from then-Special Representative for Venezuela Elliott Abrams—asserting that certain aspects of

 a sale process could be contrary to the Trump Administration’s foreign-policy objectives. See D.I.

 212; D.I. 212-1. Just two weeks later, however, government counsel conceded at oral argument

 before this Court that “the Court can do whatever it wants.” Sept. 2020 Tr. at 105.

        In light of that concession and the manifest injustice of Venezuela’s years-long refusal to


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 honor the judgment against it, this Court entered an order in January 2021 granting in part

 Crystallex’s motion to approve certain sale procedures. The Court explained that “the time has

 arrived for the sales process to proceed,” and “the most reasonable” course of action was thus “to

 set up the sales procedures and then to follow them to the maximum extent that can be accom-

 plished without a specific license from OFAC.” D.I. 234 at 32-34. “The alternative,” the Court

 recognized, “would be to make Crystallex wait for an indefinite additional period, which cannot

 be justified given the decade and resources that Crystallex has already spent trying to collect on

 its judgment and given its uninterrupted string of litigation victories.” Id. at 33. The Court thus

 set out “the contours of the sales procedures that it will follow,” id. at 34, and appointed the Special

 Master to work out the details, D.I. 258. The procedures outlined by the Court expressly contem-

 plated the contingent bidding approach proposed by Crystallex, in which bidding could proceed

 even without a license from OFAC, and the “winning bidder” would then “be given a reasonable

 amount of time to pursue any necessary and desirable regulatory approvals.” D.I. 234 at 36.

        The Special Master’s Proposed Sale Procedures Order, D.I. 302, as amended, D.I. 391-1,

 sets up a lengthy, multistep marketing and contingent bidding process for an eventual sale upon

 licensing by OFAC. The proposal permits the Special Master to appoint Evercore Group L.L.C.

 to help execute the sale, D.I. 391-1 at 32; id. Ex. 3; allows Crystallex to credit bid, D.I. 391-1 at

 20; requires each bidder to submit a “Proposed Agreement” for the acquisition of PDVH shares

 and a “Good Faith Deposit,” D.I. 302, Ex. 1 at 7-8, 12; and contemplates that the Court might need

 to compel PDVH to issue new stock certificates, D.I. 391-1 at 34. The order also postpones the

 Launch Date for the auction until the Special Master is “satisfied” that OFAC affirmatively ap-

 proves of the process, whether through “authorization, FAQs, or other applicable guidance.” Id.

 at 9. Crystallex objects to this last aspect and maintains that the Launch Date should occur as soon



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 as practicable days after this Court approves the sale process—and should not depend on the Spe-

 cial Master’s subjective comfort with OFAC’s level of approval. D.I. 316 at 9, 14.

                                            ARGUMENT

        This Court has soundly rejected the Venezuela parties’ efforts to indefinitely postpone a

 sale of PDVH by invoking OFAC’s sanctions regulations. The Court already determined in Jan-

 uary 2021 that the sale process should proceed to the “maximum extent” allowed without a specific

 license, including through submission of bids subject to the “winning bidder” later obtaining the

 “necessary . . . regulatory approvals” from OFAC. D.I. 234 at 34, 36. PDVH’s latest twist on its

 long-rejected sanctions arguments provide no basis to revisit that decision. This Court should thus

 launch the sales process, including bidding, without the delay of seeking further OFAC guidance.

 I.     OFAC’s Regulations Allow The Proposed Sale Procedures

        PDVH’s new challenges to the proposed sale process rest on a fundamental misreading of

 the OFAC regulations. Nothing in those regulations remotely prohibits the Court or any party

 from facilitating an eventual OFAC license application by preparing for and conducting a contin-

 gent bidding process to identify a buyer and set the terms of a proposed transaction. To the con-

 trary, the regulations expressly provide flexibility to seek a license “before, during, or after” ar-

 ranging the terms of the transfer. 31 C.F.R. § 591.202(c). Because no rights in blocked property

 would change hands unless and until OFAC grants a license, a contingent bidding process would

 not contravene the regulations. The Court should therefore enter an order directing the parties and

 the Special Master to prepare for and hold a contingent bidding process as soon as possible.

        The centerpiece of PDVH’s new arguments is that several parts of the sales procedure—

 e.g., the Evercore agreement, advertising the sale, allowing Crystallex to credit bid, and requiring

 bidders’ to execute agreements and submit bids—violate the OFAC regulations because they in-

 volve the type of act listed in OFAC’s definition of “transfer,” e.g., “the appointment of any agent,”

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 “the fulfillment of any condition,” “the making, execution, or delivery of any . . . agreement,” and

 “the making of any payment,” 31 C.F.R. § 591.310. D.I. 340 at 11-12; D.I. 397-1 at 14-20.

        The obvious problem for PDVH is that OFAC plainly has not categorically prohibited “any

 agreement” or “any payment,” etc. The lists of acts must be read in concert with § 310’s definition

 of “transfer” as an “act or transaction” with the “purpose, intent, or effect” to “create, surrender,

 release, convey, transfer, or alter” any “right, remedy, power, privilege, or interest with respect to”

 blocked property. Further, the regulations only prohibit “transfers” that are “prohibited pursuant

 to” an Executive Order. 31 C.F.R. § 591.201. And the relevant Executive Order allows any trans-

 fer “to the extent provided by” a “licens[e].” E.O. 13850 § 1(b). Contrary to PDVH’s broad

 assertion that “the sanctions regime prohibits virtually all transactions relating to blocked prop-

 erty,” D.I. 397-1 at 10 (heading), OFAC bars only “agreements,” “payments,” and other acts that

 have the “purpose, intent, or effect” to alter blocked property rights without a license.

        Here the proposed sale process is specifically designed not to transfer any property while

 that property is blocked, e.g., D.I. 391-1 ¶ 6; id. Ex. 1 at 10, and to transfer property only once

 OFAC grants a license. If OFAC ultimately denies the winning bidder a license at the end of the

 process, Venezuela retains full ownership of PDVH subject to Crystallex’s existing lien, and no

 payment flows to Venezuela or any other entity blocked by the sanctions—so no violation occurs.1

        PDVH tries to get around § 310’s plain text by citing another provision that defines “prop-

 erty” to include “contingent” property interests. 31 C.F.R. § 591.309; see Nov. 2021 Tr. at 50:19-

 20. This definition is plainly meant to capture transfers of interests that could ripen into a present

 property interest without an OFAC license—for example, a “contingent reversionary interest” in


   1
     The same is true under § 407. See D.I. 397-1 at 12. That section prohibits using “judicial
 process” to “enforc[e]” any “lien, judgment, arbitral award, decree, or other order,” but only to the
 extent it “purport[s] to transfer . . . property blocked pursuant to” § 201. 31 C.F.R. § 591.407.
 Since no transfer of blocked property will occur without a license, § 407 is not implicated.
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 funds that would revert to the Iraqi government unless its contractor proved performance. Consarc

 Corp. v. Iraqi Ministry, 27 F.3d 695, 702 (D.C. Cir. 1994) (finding funds blocked under OFAC’s

 similarly-worded Iraq sanctions regulations). The definition thus prohibits a class of transactions

 that would otherwise escape OFAC oversight. Here, by contrast, the only “contingency” is

 OFAC’s approval, and there is no possibility of completing the transfer without it.

         The regulations expressly contemplate that a property interest could lawfully be transferred

 through a transaction contingent on a future OFAC license. That is because the sole “[e]ffect”

 under the regulation of “violating” that regulation is that the transfer is “null and void,” 31 C.F.R.

 § 591.202(a), and may not be relied upon as “the basis for the assertion or recognition of any right”

 in the blocked property, id. § 202(b).2 But a license granted “after” an otherwise prohibited transfer

 can “validate” the transfer. Id. § 202(c). What matters, therefore, is whether a license is ultimately

 obtained, not when. It is sufficient to require the winning bidder to obtain regulatory approval.

         PDVH does not challenge the provisions of the Proposed Sale Procedures Order governing

 the closing of the sale after all regulatory approvals are obtained, e.g., D.I. 391-1, Ex. 1 at 17, since

 the closing will not occur until after a license is granted. And the provisions PDVH does challenge

 do not provide for (or have the purpose or effect) of altering any interest in blocked property:

         Appointment of the Special Master: PDVH claims that merely appointing the Special

 Master is an “appointment of” an “agent”—one of the acts listed in § 310—and thus prohibited.

 D.I. 340 at 12. The remarkable assertion that OFAC is directly regulating the Court’s administra-

 tion of a controversy pending before it shows the untenable breadth of PDVH’s argument, and

 directly conflicts with the government’s concession that “the Court can do whatever it wants.”

 Sept. 2020 Tr. at 105. The appointment itself did not and was not meant to alter blocked interests.


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     Violations also carry the possibility of civil and criminal penalties, but Crystallex is aware of
 no such enforcement actions in similar circumstances in OFAC’s 70-year history. See infra at 15.
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 And consistent with OFAC sanctions, the Court has granted the Special Master no power over the

 shares “except to the extent” ultimately provided by an OFAC “licens[e].” E.O. 13850 § 1(b).

         Advertisement of a sale: PDVH likewise claims that merely advertising a sale is a prohib-

 ited “transfer” because it “fulfil[s] . . . a condition’ required to validly sell the shares.” D.I. 340 at

 12 (quoting 31 C.F.R. § 591.310). But fulfilling a condition only violates the regulations if it has

 the “purpose, intent, or effect” of altering property interests—for example, where a preexisting

 contract provides for payment upon performance. Otherwise, even applying for an OFAC license

 would violate the regulations since doing so is “required to validly sell the shares.” Id. Nothing

 in § 310 or elsewhere purports to prohibit mere preparatory steps towards a future lawful transfer.

 If OFAC intended to prohibit preparatory steps, it easily could have said so in § 310.

         The Evercore agreement: The Proposed Evercore Engagement Letter is not a transfer of

 blocked property because it does not require that any blocked asset be used to make any payments.

 See D.I. 391-1, Ex. 3 at 2-5. The proposal contemplates: (1) a Monthly Fee and other incidental

 costs to be paid by a group of parties, including Venezuela, id. Ex. 3 at 2-5; and (2) a Sale Fee that

 would only require Venezuela to advance a share of the Upfront Amount, if any, upon the an-

 nouncement of a “Sales Transaction”—i.e., after the selection of the winning bidder, id. Ex. 3 at

 3. But neither payment—which are simply extensions of payments that the Venezuela Parties have

 been making to the Special Master and his advisors for months and which will be reimbursed out

 of any sale proceeds—need to be paid out of blocked property. The proposed agreement further

 provides that, if Evercore believes any transaction described in the agreement require an OFAC

 license, that transaction need not occur until OFAC issues a license. Id. Ex. 3 at 7. These terms

 carefully avoid transferring any interest in blocked property. To the extent the Court is concerned

 about the payment structure in the Evercore agreement, it can modify that structure—but that is



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 not a reason to prevent the whole process from going forward.

        Allowing Crystallex to credit bid: Crystallex’s ability to credit bid is not an interest in

 blocked property at all; it is merely a procedure that may be used in the event the bidding process

 goes forward. See D.I. 391-1 at 20-21. Unless and until the auction actually takes place, any credit

 bid is purely hypothetical. And unless Crystallex is the winning bidder and OFAC actually ap-

 proves the sale, the ability to credit bid would not give Crystallex an interest in anything at all.

        The bidders’ execution or delivery of agreements. The proposed Bidding Procedures state

 that each bidder must include a “Proposed Agreement” “that provides for the acquisition of all or

 some of the shares of PDVH, together with a redline comparing the Proposed Agreement to the

 form of agreement distributed by the Special Master to Potential Bidders.” D.I. 391-1, Ex. 1 at 8.

 But these “Proposed Agreements” are just that—proposals. They serve as a systematic way for

 the Special Master to evaluate the proposed terms of each bid, and as a starting point for the agree-

 ments that would ultimately be needed to consummate the sale. None of these contracts will be

 effective as a final sale agreement unless and until approved by both the Court and OFAC. D.I.

 391-1, Ex. 1 at 18. In fact, the proposal also specifically require bidders to submit evidence that

 they are trying to obtain OFAC approval for the sale. Id. Ex. 1 at 10. And this process facilitates

 the license application process because applications must “described in detail” the “underlying

 transaction” and provide copies of supporting documentation. OFAC FAQ 51 (Oct. 8, 2013).

        The bidders’ deposits: The proposed Bidding Procedures also require each bidder to make

 a “Good Faith Deposit.” D.I. 391-1, Ex. 1 at 7, 12. But the Good Faith Deposit is deposited with

 an escrow agent, not Venezuela. Id. Ex. 1 at 12. The deposits of the unsuccessful bidders are

 refunded, and the winning bidder’s deposit is only applied to the purchase upon the consummation

 of the sale (which, again, will only happen with OFAC’s approval). Id. Ex. 1 at 17. Absent a



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 license, therefore, the deposit never becomes Venezuela’s property, so no blocked transfer occurs.

        Issuing new certificates for the shares: The proposed Sale Procedures Order contemplates

 that in appropriate circumstances, the Special Master can recommend to the Court that it compel

 PDVH to issue new stock certificates. D.I. 391-1 at 34. It should go without saying that a mere

 recommendation to the Court would not be a “transfer” of property. See 31 C.F.R. § 591.310. Nor

 would any order by the Court that PDVH issue new certificates. The issuance of new certificates

 would not create any new interest in blocked property, nor would it create “new equity” under

 section 1(a)(ii) of Executive Order 13808, or “transfer” any “equity interest” under section 1(a)(iii)

 of Executive Order 13835. It would merely create new “evidence” of equity that already exists.

 Joseph E. Seagram & Sons, Inc. v. Conoco, Inc., 519 F. Supp. 506, 513 (D. Del. 1981).

        None of these proposed steps in the sale process violate OFAC’s regulations or the relevant

 Executive Orders, because none of them actually have the “purpose, intent, or effect” of transfer-

 ring property that is blocked by OFAC. 31 C.F.R. § 591.310.

        A final reason to avoid PDVH’s overbroad interpretation of OFAC’s regulations is to avoid

 the serious constitutional issues that would result from reading an agency’s rules—or worse, its

 interpretive guidance—as limiting the judicial power. These proceedings to enforce the judgment

 of another federal court fall comfortably within the Court’s “inherent power to enforce its judg-

 ments.” Peacock v. Thomas, 516 U.S. 349, 356 (1996). Article III interests are thus at their zenith,

 and Executive efforts to restrict the proceedings here raise troubling separation-of-powers con-

 cerns. Eash v. Riggins Trucking Inc., 757 F.2d 557, 562-63 (3d Cir. 1985) (en banc) (recognizing

 both a “limited domain of judicial autonomy” where “courts may act notwithstanding contrary

 legislative direction” and a broader domain of inherent power that “arises from necessity” and may

 be regulated within limits but can “‘neither be abrogated nor rendered practically inoperative’”).



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 “While Congress has the power under Article III” to “define the jurisdiction of the lower federal

 courts, an executive agency does not,” and cannot “unilaterally eliminate [the] jurisdiction of a

 district court” by “regulation.” Nehmer v. U.S. Dep’t of Veterans Affairs, 494 F.3d 846, 860-61

 (9th Cir. 2007) (citation omitted). The Court’s inherent authority to enforce judgments counsels

 against giving OFAC’s regulations (or nonbinding FAQs) the broad interpretation PDVH seeks.

 II.    OFAC’s Letter Does Not Change The Analysis

        As Crystallex has previously explained, D.I. 346, OFAC denied without prejudice

 Crystallex’s request for a license to effectuate the sale of the shares of PDVH in September. OFAC

 suggested that it may be appropriate for Crystallex to renew its application early next year, noting

 that “the [Venezuelan] National Assembly’s mandate ends in January 2022,” and so OFAC “an-

 ticipates” reassessing whether a sale of the shares of PDVH is consistent with U.S. foreign policy

 goals “during the first half of 2022.” D.I. 346-1 at 8.

        In its letter, OFAC expressed no concern on policy or sanctions grounds with any of the

 steps the Court is taking or considering at this time to prepare for an eventual sale once a license

 is granted. D.I. 346-1 at 1, 4-5. Indeed, the letter expressly acknowledged the Court’s decision

 “to proceed with prefatory steps toward a judicial sale,” without challenge or objection. Id. at 5.

        OFAC’s letter therefore does not change anything in this Court’s analysis. Crystallex is in

 the same position as it was previously: without a license for now, but with the possibility that

 OFAC will grant one soon. To the extent OFAC’s intentions are not yet clear, there is no point in

 spending time trying to interpret smoke signals. OFAC is a federal agency, not the Oracle of

 Delphi, and whatever inchoate implications PDVH claims to read between the lines of OFAC’s

 denial letter lack the force of law. See Kisor, 139 S. Ct. at 2415. In the meantime, the Court should

 order the parties and the Special Master to prepare for the sale.

        PDVH argues that OFAC’s letter conclusively determined that any and all further steps
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 toward the sale are prohibited, Nov. 2021 Tr. at 48:10-19, because Crystallex had requested an

 authorization for “all activities necessary and ordinarily incident” to conducting a judicial sale,

 D.I. 346-1 at 1. But Crystallex was merely asking for permission for activities necessary to effec-

 tuate the final sale—not permission to even prepare for a sale, which is not required and this Court

 already granted in January 2021. OFAC limited its ruling to the issue of “a specific license to

 effect the sale,” and did not address preparatory steps other than to acknowledge this Court already

 authorized them. Id. at 8. And even if OFAC wanted to prohibit all activities leading up to the

 sale, it could not do so by simply denying an application. OFAC’s regulations do not prohibit any

 and all activities related to blocked property—they only prohibit actions with the “purpose, intent,

 or effect” of transferring blocked property. 31 C.F.R. § 591.310. Having promulgated this regu-

 lation, OFAC must follow it. See United States ex rel. Accardi v. Shaughnessy, 347 U.S. 260, 267

 (1954); Cent. Laborers’ Pension Fund v. Heinz, 541 U.S. 739, 748 (2004). The regulation has not

 changed since January 2021 when this Court recognized that preparatory steps were allowed.

        PDVH also trivializes OFAC’s express invitation that Crystallex renew its application in

 early 2022, suggesting it “simply reflects the reality that foreign policy may change” because the

 government is “constantly re-evaluating U.S. foreign policy interest.” Nov. 2021 Tr. at 49:10-18.

 But here OFAC has taken the extraordinary step—unprecedented, as far as Crystallex is aware—

 of inviting another application at a specific date based on specific near-term events: the expiration

 of the National Assembly’s mandate in January and then ongoing government negotiations be-

 tween Maduro and the opposition (since collapsed). This suggests that the government anticipates

 more than routine reevalution, and instead believes that those developments are significant and

 could be an inflection point for a policy change. D.I. 346-1 at 8.

 III.   The Court Should Evaluate The Adequacy Of The Winning Bid Once It Is Made

        Finally, PDVH once again speculates that moving forward before final approval from
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 OFAC will depress the value of the shares. E.g., Nov. 2021 Tr. at 54:5-6. But the answer to this

 is straightforward: The Court can evaluate the adequacy of the winning bid once there is a winning

 bid to evaluate. As Crystallex has previously explained, its long wait to collect on its judgment

 makes it necessary to continue these enforcement proceedings, rather than stall them based on

 speculation about the offers that might come in. See id. at 73:10-18; see also D.I. 316 at 17-20.

 All the more so due to the risk that OFAC could allow the holders of PDVSA 2020 bonds to

 execute on their claims in the near future. See D.I. 346 at 2.

        PDVH should not be able to stall these proceedings any longer based on the miniscule risk

 that some resources might be wasted if the bids are ultimately inadequate. Such an outcome is

 extremely unlikely, given the asset at issue and the likely interest from sophisticated parties. In-

 deed, businesses often enter into complicated and resource-intensive transactions under the cloud

 of uncertainty in obtaining regulatory approval. See, e.g., 15 U.S.C. § 18a (establishing the Federal

 Trade Commission’s premerger notification program); 50 U.S.C. § 4565 & 31 C.F.R. Part 800

 (establishing the Committee on Foreign Investment in the United States review process). But more

 importantly, Crystallex has already been forced to wait for years to collect its judgment; any risk

 of wasted resources would be a small price to pay to move things forward now. And the U.S.

 courts’ interest in the enforcement of valid judgments further supports doing what can be done

 now, rather than allowing an adjudicated debtor to continue dodging its obligations scot-free.

        PDVH argues that holding a contingent auction prior to obtaining OFAC’s approval will

 depress bidding because participants would face the risk of “civil and criminal penalties” under

 the International Emergency Economic Powers Act. D.I. 340 at 14 n.13 (citing 50 U.S.C. § 1705).

 The claim is absurd, and shows how desperate Venezuela is to avoid paying this many-times af-




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 firmed judgment. The statute requires a “willfu[l]” violation of an Executive Order or implement-

 ing regulation for the imposition of criminal penalties. 50 U.S.C. § 1705(c). It provides a defense

 that “[n]o person shall be held liable in any court for or with respect to anything done or omitted

 in good faith in connection with the administration of, or pursuant to and in reliance on, this chap-

 ter, or any regulation, instruction, or direction issued under this chapter.” Id. § 1702(a)(3) (em-

 phasis added); see also United States v. Quinn, 403 F. Supp. 2d 57, 60 (D.D.C. 2005) (“IEEPA’s

 criminal provision ‘demands proof that a defendant acted with knowledge of the illegality of his

 actions[.]’”). It is inconceivable that the Department of Justice would initiate criminal proceed-

 ings, or that OFAC would seek civil penalties, against bidders in a public auction conducted by a

 federal court that was expressly conditioned on OFAC’s ultimate approval. To Crystallex’s

 knowledge, no prosecution or enforcement action has ever been brought under such circumstances.

        In any event, any concern about the sanctions’ effect on the value of the shares is a problem

 of Venezuela’s own making. It is widely reported that Guaidó has actively courted the federal

 government’s support for the OFAC sanctions, and that the government is trying to assist Guaidó

 by blocking CITGO. See Declaration of Matthew S. Rozen, filed contemporaneously herewith,

 ¶¶ 4-13 (citing sources). Meanwhile, Venezuela is exploring ways to insulate its assets. Id. ¶ 14

 (citing source). Venezuela could instead work to maximize the share value by cooperating in the

 OFAC process and providing more certainty to bidders. In fact, its own expert testified that it

 could pay off the debt without selling the shares of PDVH, D.I. 317-1 §§ 7-12, yet Venezuela has

 not made any payments in years. That is because its primary goal is delay, rather than maximizing

 PDVH’s value or satisfying Crystallex’s judgment.

                                          CONCLUSION

        For the reasons set forth above and in Crystallex’s briefing on the sale, Crystallex respect-

 fully requests that this Court enter a Sale Procedures Order.
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